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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


PUBLIX ASSET MANAGEMENT COMPANY AND
PUBLIX SUPER MARKETS, INC.,

        Plaintiffs,

v.                                                                 NO. 8:21-CV-02404

PHARMAPACKS, LLC AND
PACKABLE HOLDINGS, LLC,

        Defendants.


                 DEFENDANTS’ RULE 7.1 AND LOCAL RULE 3.03
                        DISCLOSURE STATEMENT

Filed by: PHARMAPACKS, LLC AND PACKABLE HOLDINGS, LLC

Each person—including each lawyer, association, firm, partnership, corporation,
limited liability company, subsidiary, conglomerate, affiliate, member, and other
identifiable and related legal entity—that has or might have an interest in the
outcome:

     1. Packable Holdings, LLC (Defendant)
        Packable is not publicly traded, has no parent corporation, and the following
        publicly held corporations own 10% or more of its membership interests:
           a. Carlyle Group Inc. through its affiliates and subsidiaries (including
               Carlyle Partners VII Pacer Holdings, L.P.; CP VII Pacer Holdings, L.P.;
               CP VII AIF Holdings, S.C.Sp.). See www.sec.gov/ix?doc=/Archives/
               edgar/data/1828817/000110465921129066/htpa-20211022xs4.htm at
               262 n.11.
           b. RB Health (US) LLC. See id. at 263 n.13.

     2. Pharmapacks, LLC (Defendant)
        Pharmapacks is not publicly traded, Packable Holdings, LLC is its parent, and
        no publicly held corporation owns 10% or more of its membership interests.
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   3. Highland Transcend Partners I Corp.
      On information and belief, Highland is publicly traded, has no parent
      corporation, and no publicly held corporation owns 10% or more of its stock.

   4. Counsel for Defendants:

        ARENT FOX LLP
        Ross Panko, Esq. (PHV Application forthcoming)
        Lead Counsel (per Local Rule 2.02)
        ross.panko@arentfox.com
        1717 K Street, NW
        Washington, DC 20006-5344
        Tel: (202) 857.6090
        Fax: (202) 857-6395

        RODRIGUEZ, TRAMONT, NUÑEZ, P.A.
        Andrew Tramont, Esq.
        Florida Bar No.: 322830
        avt@rtgn-law.com
        255 Alhambra Circle
        Suite 1150
        Coral Gables, Florida 33134
        Tel: (305) 350-2300
        Fax: (305) 350-2525


   5. Companies and persons listed on Plaintiffs’ Rule 7.1 disclosure (ECF No. 2).

Each entity with publicly traded shares or debt potentially affected by the outcome:

On information and belief, Highland Transcend Partners I Corp. is publicly traded,
has no parent corporation, and no publicly held corporation owns 10% or more of its
stock.

Companies listed on Plaintiffs’ Rule 7.1 disclosure (ECF No. 2)

Each additional entity likely to actively participate, including in a bankruptcy
proceeding the debtor and each member of the creditor’s committee:

None.

Each person arguably eligible for restitution:


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None.

If filed by a nongovernmental corporate party, then identify any parent corporation
and any publicly held corporation owning 10% or more of its stock or state there is
no such corporation:

N/A

I certify that, except as disclosed, I am unaware of an actual or potential conflict of
interest affecting the district judge or the magistrate judge in this action, and I will
immediately notify the judge in writing within fourteen days after I know of a conflict.


______________________________________
Andrew V. Tramont, Esq.
Florida Bar No.: 322830

11/3/2021


                                Certificate of Service
        I HEREBY CERTIFY that on November 3, 2021, a true and correct copy of the

foregoing has been furnished by electronic filing with the Clerk of the Court via

CM/ECF which will send notice of electronic filing to all counsel of record.

                                               /s/ Andrew V. Tramont
                                                     Andrew V. Tramont


                                     Service List

Dina W. Mckenney
Holland & Knight LLP
One Arts Plaza
1722 Routh St., Suite 1500
Dallas, TX 75201
214-969-1700




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Attorney for Plaintiffs

Justin S. Cohen
Thompson & Knight, LLP
Suite 1500
1722 Routh St
Dallas, TX 75201-2533
214/969-1211
Fax: 214/999-1565
Email: justin.cohen@tklaw.com

Attorney for Plaintiffs

Anthony J. Palermo
Holland & Knight LLP
100 N Tampa St Ste 4100
Tampa, FL 33602
813/227-6320
Email: anthony.palermo@hklaw.com

Attorney for Plaintiffs




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